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  IT IS ORDERED as set forth below:



   Date: May 18, 2018
                                                       _________________________________

                                                                 Barbara Ellis-Monro
                                                            U.S. Bankruptcy Court Judge


 ________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:
                                                             CASE NO. 17-63608-BEM
IMAN EMANUEL DANIEL,

         Debtor.                                             CHAPTER 7



                                           ORDER

               This matter is before the Court on Debtor’s “Motion to Reopen Additional

Creditors.” [Doc. 24]. In the Motion, Debtor seeks to add creditors that were inadvertently

omitted from his schedules. Debtor’s case is a no-asset Chapter 7 case. The Trustee filed a report

of no distribution on September 13, 2017, and Debtor received a discharge on November 13,

2017. [Doc. 21]. In a no-asset Chapter 7 case, the discharge applies to all prepetition debts,

regardless of whether they were scheduled, unless an exception to discharge applies to the

particular debt. 11 U.S.C. §§ 727(b); 523(a).
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               Because adding creditors will not affect whether the underlying debt was

discharged, Debtor’s Motion to Reopen is moot. In addition, Debtor has not paid the fee for

filing a motion to reopen. Accordingly, it is

               ORDERED that the Motion to Reopen is DENIED.

                                        END OF ORDER




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                                     Distribution List

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M. Denise Dotson, LLC
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Avondale Estates, GA 30003

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251 North Ave.
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